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                             Exhibit C
            Case 2:15-cv-05193-ES-JAD Document 3-4 Filed 07/08/15 Page 2 of 2 PageID: 51
~   AO 136 (Rev. 9/98) Certificate of Good Standing



                                        UNITED STATES DISTRICT COURT

                      Eastern                                  DISTRICT OF                           New York
                                                                                           CERTIFICATE OF
                                                                                           GOOD STANDING




       1,       ---------··---·-·-------···
                                           DOUGLAS C. PALMER
                                              - - - -   ····--~----··   ·-~-----··-   ~~
                                                                                                , Clerk of this Court,

       certify that                    --
                                              ROY DEN HOLLANDER
                                                  ·-···~---~------·--·--
                                                                                      , Bar# --------------------------


                               was duly admitted to practice in this Court on

                           _   --~~~UA~R~Y6,_ ~o~---- __ ~--- _______ , and is in good standing
                                              DATE


                                        as a member of the Bar of this Court.

       Dated at                    ~-
                                                 BROOKLYN, N.Y.
                                                        - - - - - -
                                                                                           on        DECEMBER 11, 2014
                                                    LOCATION                                              DATE




                                                                '


                   DOUGLAS C. PALMER
                                   CLERK
